                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK

 U.S. BANK, NATIONAL ASSOCIATION,
 in its capacity as Trustee, JOSHUA N.
 TERRY,      AND      ACIS     CAPITAL
 MANAGEMENT, L.P.,
                                                      No. 1:21-cv-11059 (GHW-JLC)
                       Plaintiffs,
                                                      Oral Argument Requested
          v.

 THE CHARITABLE DONOR ADVISED
 FUND, L.P., CLO HOLDCO LTD., AND
 NEXPOINT STRATEGIC
 OPPORTUNITIES FUND,

                       Defendants.

               MOTION TO DISMISS PLAINTIFFS’ AMENDED COMPLAINT

       Defendants Charitable DAF Fund, LP a/k/a The Charitable Donor Advised Fund,

L.P. and CLO HoldCo, Ltd. (“Defendants” or “DAF/CLOH”), submit this Motion to

Dismiss Plaintiffs’ Amended Complaint (“Motion”) under Rules 12(b)(1), 12(b)(6), and

17(a) and respectfully seek dismissal of Plaintiffs’ Amended Complaint (ECF No. 15)

(“Complaint”) because there is no case or controversy under Article III of the United

States Constitution, and Plaintiffs are not the real parties in interest regarding the asserted

claims.




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                                                      OVERVIEW

           Plaintiffs invite this Court to insulate Plaintiffs from their unilateral decision to

withhold tens of millions of dollars owed to noteholders – on which Plaintiffs are

presumably collecting fees - for a war chest to protect them from the hypothetical,

speculative claims of DAF/CLO. With a war chest in hand, Plaintiffs cannot demonstrate

any actual injury, much less satisfy other essential criteria to establish a genuine case or

controversy.

           The Complaint is premised on rank speculation that DAF/CLOH may—at some

unspecified future time—sue Plaintiffs for vaguely described claims of securities-portfolio

mismanagement and associated breaches of duty under state or federal law. Plaintiffs

focus on voluntary dismissals of two prior lawsuits by DAF and/or CLOH against Plaintiffs

over two years ago—in February 2020. Plaintiffs also complain of DAF/CLOH’s

reservations of rights in a letter sent on May 8, 2020—nearly two years ago. Since those

events, DAF/CLOH have not filed suit and the Complaint fails to identify a single

litigation “threat.” Yet, Plaintiffs allege there is “little doubt” DAF/CLOH will re-assert

their past claims—and new claims mimicking federal-law claims of a distinct entity

(NexPoint Strategic Opportunities Fund (“NexPoint”)), the plaintiff in a purportedly

“related” case pending before the Court, NexPoint Strategic Opportunities Fund v. Acis

Capital Management, L.P., et al., Case No. 1:21-cv-04384-GHW (the “NexPoint Lawsuit”).1



1
    Defendants do not admit the cases are “related;” but they note the cases have been docketed as “related.”
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(See ECF No. 15 at ¶ 46) But Plaintiffs’ allegations are nothing more than crystal ball

gazing that fail to establish a justiciable case or controversy. The Court, therefore, lacks

subject matter jurisdiction.

       The Complaint alleges that Plaintiffs suffered injury because final distributions to

holders of subordinated notes were purposefully delayed based on Plaintiffs’ expedient

need to build cash reserves to cover indemnity obligations that might arise. (See ECF No.

15 at ¶ 1) But DAF/CLOH have no authority to compel anyone to withhold distributions

from the ACIS CLOs,2 and the unilateral decisions of others to do so does not create a

genuine case or controversy. Insofar as Plaintiffs are seeking redress of injuries allegedly

sustained by the holders of subordinated notes, the Plaintiffs are not the real parties in

interest under Federal Rule of Civil Procedure 17, and, accordingly, they are not

permitted to maintain this action, and the lawsuit should be dismissed for this further

reason.

                                              FACTS

       Plaintiffs’ Complaint obfuscates the facts. Plaintiffs allege that: (1) DAF/CLOH

allegedly threatened litigation against Plaintiffs; (2) DAF/CLOH allegedly continue to

threaten litigation; and (3) such threats allegedly necessitated this lawsuit. (See, generally,

id.) But aside from conclusory allegations, and misattributions to Defendants, Plaintiffs




2
 The ACIS CLOs include ACIS CLO 2014-4 Ltd. (“ACIS 4”), ACIS CLO 2014-5 Ltd. (“ACIS 5”), and ACIS CLO
2015-6 Ltd. (“ACIS 6”).
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identify four “threatening” acts by DAF/CLOH. And a close review reveals that these

four “threats” do not support Plaintiffs’ claim that there is a current, ongoing litigation

threat by DAF/CLOH. These four “threatening” acts include: (1) that DAF filed a lawsuit

in 2019 (“2019 Lawsuit”), but voluntarily dismissed the lawsuit on February 3, 2020 (see

id. at ¶ 32-38); (2) that DAF/CLOH filed a second lawsuit on February 6, 2020 (“2020

Lawsuit”), asserting claims identical to those set forth in the 2019 Lawsuit, but voluntarily

dismissed the 2020 Lawsuit on February 25, 2020 (see id. at 39-41); (3) that DAF/CLOH

sent a letter to U.S. Bank in May 2020, complaining of misconduct that had been the

subject of the 2019 and 2020 Lawsuits (see id. at ¶ 42-43; id. at Ex. H); and (4) that on

January 10, 2022—after Plaintiffs filed the above-captioned lawsuit—DAF/CLOH

declined to release claims in response to Plaintiffs’ demand letter sent December 28, 2021.

(See id. at ¶ 47) The most recent of the three pre-lawsuit “threats” was a letter seeking

compromise while reserving litigation rights—and it was sent almost two years before

Plaintiffs filed the current lawsuit. (See id. at Ex. H) The Complaint is otherwise devoid of

any allegations of any current, immediate “threats.”

       The remainder of the “threats” involve alleged conduct of others over whom

DAF/CLOH have no right of control.3 Plaintiffs attribute those actions to DAF/CLOH by




3See Ex. 1 to this Motion, Declaration of Mark Patrick in Support of DAF/CLOH’s Motion to Dismiss, at ¶
6. Ex. 1 is incorporated in its entirety in this Motion by reference.

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conflating the distinct identities of CLOH,4 DAF,5 NexPoint,6 and non-party James

Dondero (“Dondero”). But DAF’s, CLOH’s, Dondero’s, and NexPoint’s identities are not

fungible, and the Complaint blurs lines and suggests that NexPoint’s or Dondero’s

alleged actions justify this lawsuit.

        Ostensibly to support their bogus suggestions, Plaintiffs peddle the fiction that

NexPoint’s claims are the same claims brought by DAF/CLOH in the 2019 and 2020

Lawsuits. (See, e.g., id. at ¶ 45 (“The NexPoint Lawsuit regurgitated the same vexatious

claims that DAF and [CLOH] made in the 2019 and 2020 Lawsuits”)) While NexPoint’s

claims may arise from Plaintiffs’ similar misconduct, the claims are materially distinct

from any claims previously brought by DAF/CLOH.

        NexPoint’s claims belong to NexPoint (who directly owns subordinated notes

issued by ACIS 6). NexPoint also asserted various federal-law claims, whereas

DAF/CLOH never asserted federal-law claims against Plaintiffs.7 (See, generally, id. at Ex.

I cf. id. at Ex. F and Ex. G) DAF/CLOH’s claims involved misconduct related to, inter alia,

subordinated notes presently held by HCLOF and issued by ACIS CLOs 4, 5, and 6,




4 CLOH is organized under the laws of the Cayman Islands. See ECF No. 15 at ¶ 13; see also Ex. 1 at ¶ 4.
5 DAF is a Cayman Islands limited partnership that owns 100% of CLOH’s equity. See ECF No. 15 at ¶ 12;
see also Ex. 1 at ¶ 2.
6 On information and belief, NexPoint is a Delaware statutory trust managed by NexPoint Advisors, L.P.

See ECF No. 15 at ¶ 14. Neither CLOH nor DAF owns any interest in or controls NexPoint. See Ex. 1 at ¶ 6.
7 Although Plaintiffs seek a declaration that DAF/CLOH “lack standing to bring their threatened claims

under the Investment Advisers Act of 1940 (‘Advisers Act’) . . . [and] the Trust Indenture Act of 1939
(‘TIA’),” see ECF No. 15 at ¶ 1, neither DAF nor CLOH has ever threatened those claims against Plaintiffs.
See, generally, ECF No. 15-06 and ECF No. 15-07.

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whereas NexPoint’s claims pertain to subordinated notes presently held by NexPoint and

issued by ACIS CLO 6. (See id.) Thus, NexPoint’s claims are plainly distinct from those

previously asserted by DAF/CLOH.

       Further, the Complaint claims that the purpose of this lawsuit is to redress injuries

that DAF/CLOH’s so-called “threats” allegedly inflicted upon Holders of Subordinated

Notes.8 (See, e.g., id. at ¶¶ 1, 52) Plaintiffs allege that the “threats” have injured the Holders

of Subordinated Notes issued by ACIS 4, 5, and 6, respectively, by forcing the holdback

of funds to cover purported indemnity obligations, which allegedly delayed final, post-

redemption distributions. (See id.) But Plaintiffs are not the Holders of any Subordinated

Notes. (See id. at ¶ 31) In fact, only one party to this lawsuit is a Holder of Subordinated

Notes, and that is NexPoint—who is a defendant sued by Plaintiffs. (See id. at ¶ 44)

       Despite the Complaint’s assertions that Plaintiffs bring this lawsuit to remedy

injuries to the Holders of Subordinated Notes, Plaintiffs recently retreated from this

position in their pre-motion letter, claiming instead that they filed this lawsuit to remedy

their “injuries.” (See ECF No. 30 at p. 3) In their letter, Plaintiffs argued they are the real

parties in interest and suffered injuries “because they face millions in potential liability

from [DAF/CLOH’s] threatened claims.” But the fact is Plaintiffs effectively admit they

have zero exposure because they expect 100% indemnity under the relevant indentures.




8 In this brief, DAF/CLOH use the nomenclature ascribed by the indentures underlying Plaintiffs’
allegations, but Plaintiffs did not use the proper terms in their Complaint.

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To ensure they face no out-of-pocket expenses, Plaintiffs built an indemnity cash reserve

by withholding final distributions to Holders of Subordinated Notes.

        Plaintiffs also claim, albeit incorrectly, that even if this lawsuit is intended to

remedy injuries to the Holders of Subordinated Notes (as repeatedly stated in the

Complaint), U.S. Bank would be entitled to prosecute such claims in its own name as

Trustee under the relevant indentures. (See id.) But, although the relevant indentures may

authorize U.S. Bank to sue on behalf of Holders of Secured Notes, they do not authorize

U.S. Bank to sue on behalf of Holders of Subordinated Notes.

        Section 5.6 of the indentures9 grants U.S. Bank the right to prosecute, in its own

name, “rights of action and claims under this Indenture or under any of the Secured

Notes.” But the indentures’ definition of “Secured Notes” does not encompass

“Subordinated Notes.”10 Plaintiffs acknowledge in the Complaint that “the ACIS CLOs

have . . . redeemed their secured notes, leaving only the subordinated notes outstanding.”

(See ECF No. 15 at ¶ 51) So, Plaintiffs complain of alleged injuries to Holders of




9 Each of the Indentures contains an identical Section 5.6. See Ex. 1 at ¶ 13; id. at Ex. D (“ACIS 4 Indenture”),
p. 114; id. at Ex. E (“ACIS 5 Indenture”), p. 112; id. at Ex. F (“ACIS 6 Indenture”), p. 107. The ACIS 4
Indenture, ACIS 5 Indenture, and ACIS 6 Indenture are, collectively, referenced herein as the “Indentures.”
10 See, e.g., the definitions set forth in the Indentures. “Secured Notes” means: “The Class X Notes, the Class

A Notes, the Class B Notes, the Class C Notes, the Class D Notes, the Class E Notes, the Class F Notes and
the Combination Notes;” cf. “Subordinated Notes” is defined at p. 62 of the ACIS 4 Indenture and has the
characteristics set forth in Section 2.3 thereof. Section 2.3 makes clear that the “Subordinated Notes” are
distinct from and have completely different rights than the various classes of notes that constitute “Secured
Notes.” DAF/CLOH respectfully request that the Court take judicial notice of the Indentures, Exhs. D, E,
and F to Ex. 1, for purposes of this Motion. See Weston Funding, LLC v. Consorciao G Grupo Dina, S.A. De
C.V., 451 F. Supp.2d 585, 587-588 (S.D.N.Y. 2006).

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Subordinated Notes, but Section 5.6 of the indentures does not authorize U.S. Bank or

any of other Plaintiff to sue for injuries suffered by Holders of Subordinated Notes.

                                         ARGUMENT

       The Complaint must be dismissed because it fails to present a justiciable case or

controversy under Article III of the United States Constitution. The Court lacks subject

matter jurisdiction. Dismissal also is proper for the reason that Plaintiffs are not the real

parties in interest regarding the claims set forth in the Complaint. Exercising its

discretion, the Court also should decline to issue declaratory relief and should dismiss

the Complaint on that basis, if necessary.

1. The Complaint must be dismissed because there is no case or controversy.

       The Complaint does not present a justiciable case or controversy because it fails to

allege an injury fairly traceable to DAF/CLOH’s conduct and redressable by the requested

relief. Put simply, Plaintiffs fail to meet their burden of establishing constitutional

standing. See Marcavage v. City of N.Y., 689 F.3d 98, 103 (2d Cir. 2012) (plaintiffs have the

burden of establishing standing).

       Article III only permits federal courts to adjudicate “cases or controversies.” Lujan

v. Defenders of Wildlife, 504 U.S. 555, 560–61 (1992). In other words, the plaintiff must allege

“(1) an injury that is (2) ‘fairly traceable to the defendant’s allegedly unlawful conduct’

and that is (3) ‘likely to be redressed by the requested relief.’” Id. (citation omitted).




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(a) Plaintiffs allege no “injury,” much less one fairly traceable to DAF/CLOH.

       The Complaint alleges and seeks to “redress” the alleged delay of final

distributions to Holders of Subordinated Notes, which Plaintiffs caused. (See, generally,

ECF No. 15; see also id. at ¶ 1 (alleging DAF/CLOH’s so-called threats of litigation “have

delayed distributions to the ACIS CLOs’ subordinated noteholders by forcing the

holdback of funds from the ACIS CLOs’ final distributions . . . . In order to free up funds

for payment to the subordinated noteholders, Plaintiffs hereby seek a declaratory

judgment”); id. at ¶ 52 (“Plaintiffs hope to obtain judicial determinations that the

threatened claims . . . are meritless. . . . In doing so, Plaintiffs seek to free up funds that

are being held in reserve from distributions to the subordinated noteholders of the ACIS

CLOs . . . and stop the unnecessary delay to the subordinated noteholders who are forced

to wait for payments they would otherwise receive today”)). Even if (for the sake of

argument only and without admitting the same) delay in the payment of funds was an

injury, it is not fairly traceable to DAF/CLOH. Instead, it is caused solely by the decisions of

the non-party ACIS CLOs or U.S. Bank to withhold distributions. (See id. at ¶ 1)

       Plaintiffs claim that the withheld funds are intended to cover indemnity

obligations to Plaintiffs that could arise if DAF/CLOH file suit against the Plaintiffs. (See

id.) But the alleged “injury” arises solely from the subjective fears and unilateral conduct

of the ACIS CLOs or U.S. Bank. See Bandler v. Town of Woodstock, 832 F. App’x 733, 734 (2d

Cir. 2020) (upholding denial of standing on traceability grounds); Taylor v. Bernanke, No.


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13-CV-1013, 2013 WL 4811222, at *10 n.5 (E.D.N.Y. Sept. 9, 2013) (“Self-inflicted injury

that results from a plaintiff’s personal choices rather than a defendant’s conduct will not

confer standing”).

       The mere possibility of future litigation is not an injury giving rise to a justiciable

“case or controversy.” See Election Computer Servs., Inc. v. Aristotle Pub., Inc., No. 96 CIV.

5947(DAB), 1997 WL 438798, *2 (S.D.N.Y. Aug. 4, 1997) (mem. op.) (“The possibility of

future litigation alone, however, is not sufficient to establish an actual controversy

necessary for declaratory relief”) (emphasis added). The “injury-in-fact” requirement of

Article III is satisfied only by an injury that is “actual or imminent, not conjectural or

hypothetical.” See Lujan, 504 U.S. at 560 (quotation marks omitted). In the declaratory-

judgment context, “the question we must ask is ‘whether the facts alleged, under all the

circumstances, show that there is a substantial controversy, between parties having

adverse legal interests, of sufficient immediacy and reality to warrant the issuance of a

declaratory judgment.’” Olin Cop. v. Consolidated Aluminum Corp., 5 F.3d 10, 17 (2d Cir.

1993) (citations omitted). “Although imminence is concededly a somewhat elastic

concept, it cannot be stretched beyond its purpose, which is to ensure that the alleged

injury is not too speculative for Article III purposes—that the injury is certainly

impending.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013) (emphasis in original).

Thus, the United States Supreme Court has “repeatedly reiterated that [a] ‘threatened

injury must be certainly impending to constitute injury in fact,’ and that ‘[a]llegations of


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possible future injury’ are not sufficient.” Id. (emphasis in original) (citation omitted).

Plaintiffs argue that declaratory relief is proper to relieve them from “the Damoclean

threat of impending litigation,” see Museum of Mod. Art. V. Schoeps, 549 F. Supp. 2d 543,

547 (S.D.N.Y. 2008), but there are no such impending threats here.

       In Modern Art, defendant’s counsel sent a letter threatening to “take whatever

actions [they] deem[ed] appropriate to protect the rights of [their] clients,” and the

plaintiff museums “promptly initiated [the] action for declaratory relief, asking the Court

to find that [the defendant] ha[d] no valid claim to the paintings.” See id. at 545. Here,

however, in contrast to Modern Art, DAF/CLOH has not consistently threatened to take

action, and Plaintiffs did not promptly file this lawsuit upon receipt of DAF/CLOH’s May

8, 2020 letter—instead, Plaintiffs waited more than 19 months. Thus, unlike Modern Art,

there is no “Damoclean threat of impending litigation” - nor is there any other threat of

sufficient immediacy and reality to warrant issuance of a declaratory judgment.

       Further, Plaintiffs have built a war chest of undistributed funds to cover defense

and judgment costs that might arise in any hypothetical universe where a lawsuit is filed.

See Koons v. XL Ins. Am., Inc., 620 F. App’x 110, 112-13 (3d Cir. 2015) (holding that where

a plaintiff has been fully indemnified for an injury forming the basis of its lawsuit, the

plaintiff no longer has the requisite personal interest in the litigation to satisfy Article III’s

case or controversy requirement); Nat’l Union Fire Ins. Co. of Pittsburgh, Pa. v. Continental

Ill. Corp., 110 F.R.D. 615, 618 (N.D. Ill. 1986) (directors had no claim where a third party


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had fully indemnified them). Indeed, as of June 24, 2021, the war chest included at least

$30 million of indemnity funds.11 The war chest likely increased since that time because

the ACIS CLOs had yet to liquidate other assets having an estimated market value of

$21,500,000.12 In light of the massive war chest reserved to indemnify Plaintiffs for any

hypothetical liability they might incur,they have effectively failed to allege any actual or

even anticipated injury.

(b) Plaintiffs’ alleged “injury” will not be redressed by the requested relief.

        Article III’s case-or-controversy provision requires Plaintiffs to “show a

‘substantial likelihood that the requested relief will remedy the alleged injury in fact.’”

Sprint Communications Co., L.P. v. APCC Svcs., Inc., 554 U.S. 269, 287 (2008) (citation

omitted) (emphasis in original). The Complaint fails in this regard.

        Plaintiffs claim they seek to free up funds for distribution to Holders of

Subordinated Notes, but the requested declarations do not require U.S. Bank or the ACIS

CLOs to issue final distributions. (See ECF No. 15 at p. 23) Indeed, Plaintiffs seek a

declaration that DAF/CLOH lack standing to bring vaguely described claims, but that

declaration could not redress the alleged injury. Rather, the declarations speak only to

DAF/CLOH’s standing at the time of judgment; it would not prevent DAF/CLOH from later




11 See Ex. 1 at ¶¶ 8-12 and at Ex. A, Ex. B, and Ex. C. to Ex. 1. DAF/CLOH respectfully request that the Court
also take judicial notice of Exhs. A, B, and C to Ex. 1, for purposes of this Motion. See Weston Funding, 451
F. Supp.2d at 587-588.
12 See id.


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acquiring standing. See N.Y. Bankers Ass’n, Inc. v. City of N.Y., No. 13 Civ. 7212(KPF), 2014

WL 4435427, *14 (S.D.N.Y. Sep. 9, 2014) (“‘A party without standing may later acquire

it’”) (citation omitted).

       Thus, even if DAF/CLOH presently lack standing to maintain claims against the

Plaintiffs, there is nothing barring DAF/CLOH from later establishing standing to sue.

See N.Y. Bankers Ass’n, 2014 WL 4435427 at *14 (“‘A party without standing may later

acquire it’”). Because Plaintiffs’ requested declaration on standing—which is not a

decision on the merits—would not prevent DAF/CLOH from later establishing standing

and suing on the claims at issue, Plaintiff’s requested relief would not redress the threat

of litigation even if it were an actionable injury.

       In sum, there is no “case or controversy” and, respectfully, the Court lacks subject

matter jurisdiction over this lawsuit.

2. The Complaint should be dismissed, alternatively, because Plaintiffs are not the
   real parties in interest.

       With limited exceptions, “[a]n action must be prosecuted in the name of the real

party in interest.” See Fed. R. Civ. P. 17(a)(1). The Court must dismiss an action not

prosecuted in the name of the real party in interest if, after a reasonable time following

an objection, the real party in interest has not ratified, joined in, or been substituted into

the action. See id. at (a)(3). “Generally, courts have allowed Rule 17(a) challenges to be

made pursuant to Rule 12(b)(6) . . . .’” QS Holdco Inc. v. Bank of Am. Corp., No. 18-cv-

824(RJS), 2019 WL 3716443, *3 (S.D.N.Y. Aug. 6, 2019).

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       Here, Plaintiffs allege injuries to third parties: the Holders of Subordinated

Notes.13 While Rule 17 permits the trustee of an express trust to prosecute actions in its

own name rather than the trust beneficiary’s name, see id., and U.S. Bank has styled itself

as “Trustee” in this action, the Complaint fails to allege that an express trust permits U.S.

Bank to prosecute the subject claims on behalf of the Holders of Subordinated Notes. Nor

does the Complaint allege that any other Plaintiff is a trustee authorized to bring such

claims.

       In their pre-motion letter, Plaintiffs cited an indenture provision (Section 5.6) that

provides U.S. Bank the authority to sue under Secured Notes. But the indentures do not

authorize U.S. Bank to bring claims under the Subordinated Notes. The indentures’

definition of “Secured Notes” does not encompass “Subordinated Notes.”14 As Plaintiffs

acknowledge in the Complaint, “the ACIS CLOs have . . . redeemed their secured notes,

leaving only the subordinated notes outstanding.” (See ECF No. 15 at ¶ 51) As the injury-

by-delayed-distribution claims belong to the Holders of Subordinated Notes, and

Plaintiffs have no authority to bring those claims, Plaintiffs are not the real parties in

interest as required by Rule 17(a).

       Accordingly, DAF/CLOH object that Plaintiffs are not the real parties in interest

and, alternatively, ask the Court to dismiss the Complaint if (after a reasonable time



13
   The Complaint acknowledges that non-party Highland CLO Funding, Ltd. owns 100%, 100%, and 87% of the
subordinated notes issued by ACIS 4, 5, and 6, respectively. (See ECF No. 15 at ¶ 17)
14 See Footnote 10, supra.


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following this objection) the real parties in interest (i.e., the holders of the subordinated

notes) have not ratified, joined in, or been substituted into this action.

3. The Court should exercise its discretion to refrain from declaring the litigants’
   rights.

       “The Declaratory Judgment Act confers on federal courts ‘unique and substantial

discretion in deciding whether to declare the rights of litigants.’” Peconic Baykeeper, Inc. v.

Suffolk Cty., 600 F.3d 180, 187 (2d Cir. 2010). Whether the Court should issue declaratory

relief “may depend upon equitable considerations and is also informed by the teachings

and experience concerning the functions and extent of federal judicial power.” Id. Among

other factors, the Court should consider “whether the judgment will serve a useful

purpose in clarifying or settling the legal issues involved.” Plaintiffs’ requested

declarations would not serve a useful purpose in clarifying or settling the legal issues

involved, and in light of the remote, attenuated, and hypothetical nature of the “threats”

identified by Plaintiffs, the Court should decline to provide declaratory relief.

                                         Conclusion

       For the reasons stated above, Plaintiffs’ Amended Complaint should be dismissed

as to all claims asserted against Defendants Charitable DAF Fund, LP a/k/a The

Charitable Donor Advised Fund, L.P. and CLO HoldCo, Ltd.




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Dated: April 18, 2022                          Respectfully submitted,

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MOTION TO DISMISS PLAINTIFFS’ AMENDED COMPLAINT
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